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UNITED STATES OF AMERICA )
ex rel. )
PATRICIA CROWE, MD, )
) FILED IN CAMERA AND 1 21-cv-770
- oe obe . Jonker
Plaintiffs, ) UNDER SEAL Chief U.S. District Judge
)
v. )
)
SPARROW MEDICAL GROUP; ) DO NOT PLACE ON PACER
SPARROW CARE NETWORK; )
and SPARROW HEALTH SYSTEM, )
)
Defendants. )
QUI TAM COMPLAINT
INTRODUCTION
1. This is a False Claims Act (“FCA”) action to recover damages and civil penalties

on behalf of the United States of America arising from false claims and/or fraudulent statements,
records and claims made by Defendants. The allegations involve fraud on the Medicare and
Medicaid programs due to upcoding, incident-to billing and provider-based payments.

2. Defendants Sparrow Medical Group, Sparrow Care Network, and Sparrow Health
System engaged in upcoding and violations related to incident-to billing and provider-based
billing, which caused false claims for payment to be submitted to the United States.

3. As explained in greater detail below, Defendants engaged in the above-mentioned
practices, which purposefully led to the submission of false claims which violated the FCA.

4. The FCA provides that any person who knowingly submits or causes to
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be submitted to the Government a false or fraudulent claim for payment or approval is liable for
a civil penalty of $5,500 to $11,000 for each such claim submitted on or before November 2,
2015 and $10,781 to $21,563 for each such claim submitted after November 2, 2015, as well as
three times the amount of the damages sustained by the Government. The FCA permits persons
having information regarding a false or fraudulent claim against the Government to bring an
action on behalf of the Government and to share in any recovery. The complaint must be filed
under seal, without service on the defendants. The complaint remains under seal while the
Government conducts an investigation of the complaint’s allegations and determines whether to
join the action.

5. Pursuant to the FCA, Relator seeks to recover on behalf of the United States damages and
civil penalties arising from Defendants’ purposeful submission of false and/or fraudulent claims
to the Government.

PARTIES

6. Relator Patricia Crowe, MD is the Medical Director of the Sparrow Urgent Care
/FastCare department of Sparrow Medical Group. She is also a member of the Sparrow Medical
Group. As part of her job, Relator regularly reviews medical charts and works with on-site
managers, physicians, and Advanced Practice Providers (“APPs’) of the Urgent Care and
FastCare facilities. Additionally, Relator is a Sparrow Medical Group Board member and a
Sparrow Hospital Quality and Safety Committee Board member.

7. Defendant Sparrow Medical Group (“SMG”) is a key component of Defendant Sparrow
Care Network. In April 2015, SMG included more than 278 primary, specialty and hospital-
based physicians and APPs.

8. Defendant Sparrow Care Network (“SCN”) is a clinically integrated network with
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employed and independent physicians. More than 600 physicians work in the SCN.

9. Defendant Sparrow Health System (“SHS”) is a non-profit which encompasses five
hospitals, a health maintenance organization, home health care facilities, medical equipment
services, a research institute, a foundation and one of the largest health clubs in Michigan. In
2018—the last year publicly available—SHS reported revenue of $1.3 billion, with $1 billion
generated from treating patients. The non-profit made $2.3 million more than it spent from its
operations, but its investments lost money. Overall, it lost $46.2 million in 2018. It had net assets
of $871 million. Medicare and Medicaid make up approximately 65 percent of Sparrow
Hospital’s patient revenue. Medicare averages 47.5 percent and Medicaid averages 18.4 percent.

JURISDICTION AND VENUE

10. This Court has subject matter jurisdiction over this action pursuant to 31 U.S.C. §
3732(a), 28 U.S.C. §§ 1331, 1345 and 1367.

11. This Court has personal jurisdiction over the Defendants pursuant to 31 U.S.C. §
3732(a), which authorizes nationwide service of process, because Defendants can be found in,
reside in, transacted business in, and/or have committed the alleged acts in the Eastern District of
Michigan.

12. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)-(c) and 31 U.S.C.
§ 3732(a) because Defendants can be found in, reside in, or have transacted business in the
Eastern District of Michigan.

LEGAL BACKGROUND
The False Claims Act
13. The False Claims Act, 31 U.S.C. § 3729(a)(1) provides, in relevant part, that any

person who:
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(A) knowingly presents, or causes to be presented, a false or fraudulent claim
for payment or approval;
(B) knowingly makes, uses, or causes to be made or used, a false record or
statement material to a false or fraudulent claim; and/or
(C) _ conspires to commit a violation of subparagraph (A) or (B);
is liable to the United States Government for a civil penalty of not less
than $5,000 and not more than $11,000 . . . plus 3 times the amount of
damages which the Government sustains because of the act of that person.
1
14. | The FCA permits individuals to bring civil actions in the name of the government.
31 U.S.C. § 3730(b)(1).
15. Relator seeks to recover damages and civil penalties in the name of the United
States arising from the false statements and fraudulent claims for payment made by Defendants
to the Medicare program.
The Medicare Program
16. | The Medicare program is a health insurance program administered by the United
States, which is funded through taxpayer revenue. Medicare is directed by HHS, and was
designed to assist participating states in providing medical services and durable medical
equipment to persons over 65 and certain other persons who qualify for coverage.
Other Federally-Funded Health Care Programs
17. Although false claims to Medicare are the primary FCA violations at issue in this
case, the patients who were subjected to the medically unnecessary procedures that are the subject
of this action were beneficiaries of one of three federally-funded health care benefit programs —
Medicare, Medicaid, or TRICARE. Accordingly, those other two programs are briefly discussed

as well.

18. The Medicaid Program, as enacted under Title XIX of the Social Security Act of

1 The civil penalties assessed under the FCA were adjusted by the Federal Civil Penalties Inflation Adjustment Act, 31 U.S.C. § 3729(aX1). The
current civil penalties for violations of the FCA range from not less than $10,781.40 to not more than $21,562.80.

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1965, 42 U.S.C. § 1396, et seq., is a system of medical assistance for indigent individuals. CMS
administers Medicaid on the federal level while the individual states administer the program on
the state level. Reimbursement of hospital costs or charges is governed by Part A of Medicare,
through the hospital cost report system, and reimbursement of physician charges is governed by
Part B of Medicare. As with the Medicare Program, hospitals and physicians may, through the
submission of cost reports and health insurance claim forms, recover costs and charges arising out
of the provision of appropriate and necessary care to Medicaid beneficiaries.

19. TRICARE is a federal program, established by 10 U.S.C. §§ 1071-1110, that
provides health care benefits to eligible beneficiaries, which include, among others, active duty
service members, retired service members, and their dependents. Although TRICARE is
administered by the Secretary of Defense, the regulatory authority establishing the TRICARE
program provides reimbursement to individual health care providers applying the same
reimbursement requirements and coding parameters that the Medicare program applies. 10 U.S.C.
§§ 1079G)(2) (institutional providers), (h)(1) (individual health care professionals) (citing 42
U.S.C. § 1395, et seg.). Like Medicare and Medicaid, TRICARE will pay only for “medically
necessary services and supplies required in the diagnosis and treatment of illness or injury.” 32
C.F.R. § 199.4(a)(1)G@). And, like the Medicare Program and the Medicaid Program, TRICARE
prohibits practices such as submitting claims for services that are not medically necessary,
consistently furnishing medical services that do not meet accepted standards of care, and failing to
maintain adequate medical records. 32 C.F.R. §§ 199.9(b)(3)-(b)(5).

ALLEGATIONS

20. Sparrow Healthcare System (“SHS”) “educates its doctors and mid-level
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providers to code the highest level of service to Medicare, compiles the levels by provider, and
tracks performance with “productivity” reports evaluating how they have coded and whether
they are generating enough revenue to justify their paychecks.

21. After “educating” providers in one practice, SHS concluded in 2018 that the
system expected an “improvement” of $750,000, and that the coding component and resulting
revenue exceeded its target at the Thoracic and Cardiovascular Institute (“TCT”).

22. Among the next steps: continue monitoring coding levels and educate providers.
By the end of October 2018, TCI already exceeded the $750,000 Value Transformation
improvement target by more than four-fold, sitting at $3,286,020.

23. A second Value Transformation update pertaining to physician productivity
concluded coding and documentation efforts resulted in an 0.037 wRVU per patient visit
increase — the equivalent of $518,609-- from January through October 2018.

24. Executives focused their efforts on poor performing units and providers. Their
emphasis on using higher CPT codes came as they reduced the frequency of coding reviews — a
topic they assessed as one of eight high-risk areas facing the health system just two years ago.

25, Sparrow physicians and Advanced Practice Providers (“APP”) now use some
codes as much as 50 percent more, on average, than their colleagues in Michigan, Medicare
payment data show.

26. The differences in the level of service are supposed to be determined on the
complexity of the case and the time spent — elements that reflect medical necessity. At Sparrow,
they are a critical component in the compensation paid doctors and advanced practice providers
(APP) such as nurse practitioners and physician assistants. Practitioners who don’t hit their

targets may be subject to pay cuts.
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27,

28.

29.

Consider this comparison of the average number of services provided by Sparrow
and Michigan physicians Comparison Sparrow, Michigan providers average
use of codes 99211-99215
and APPs for codes 99211

through 99215 — codes used 800

$00 @ Sparrow average
for the evaluation and 400 w Michigan Ausra
~ Sp al
management of established 0
1 99212 99313 99214 g9215

patients _ from calendar
years 2015 through 2018. Data Analysis, Dashboard Tab.

Code 99214 is one of the most used
Increased use of CPT Code 99214

and abused codes in the country, according

280

to websites directed at medical coders. On 7
260
the current Medicare Physician Fee 7
230
Schedule, Code 99214, for example, costs 220
210
99214
taxpayers, on average, $34.28 more than
code 99213.
A comparison of the use of Decreased use of CPT Code 99213

evaluation and management CPT codes

BE

92015
= 2016

for new patients show similar results.

92017
a 2018

Sparrow doctors and APPs infrequently

RS REE

use the least expensive evaluation code —

2
8

99213

about half as much as their peers. The
difference in cost to taxpayers between code 99203 and 99204 is $57.74.These patterns

hold true for 14 practitioners associated with specific examples provided by Dr. Patricia

#2015
82016
#2017
& 2018
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Crowe albeit their use of expensive CPT codes is more extensive. This small group also
used codes with lower pay rates far less frequently.

30. Strikingly, the use of code 99214 increases as Sparrow’s emphasis on reviewing
proper coding wanes and its education of physicians and mid-level providers on increasing the
use of higher codes grows in 2017.

31. For the 360 providers listed on the Sparrow Health System website and working
there from 2015 through 2018, Medicare payment data maintained by CMS show an increase in
the average use of code 99214 and a decrease in the use of code 99213 from 2015 through 2018.
Upcoding is one of three allegations raised by Dr. Patricia Crowe.

Upcoding

32. Sparrow pushed for higher level service codes, which pay more to doctors and the
facility, as part of its ongoing “value transformation program,” an initiative the healthcare
company claimed was designed to make its systems more efficient and affordable. The program
focused on areas “where performance is in question,” including coding and documentation. The
effect, as detailed in October 2018 internal reports, was to increase revenue and productivity.
Senior executives and the board of directors received regular updates.

33. In a December 13, 2018 report to the Sparrow Medical Group Board of Directors
David Kruger, the vice president of physician practice administration, explained the value
transformation project focused on three areas.

34. Kruger noted in his presentation “focus is being given to projects where
performance is in question.” An October 31, 2018 weekly update titled, “Physician

Productivity,” and distributed to board members counted among its accomplishments:
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“Coding and Doc - 2018 plan developed and implemented. Data capture issues resolved.
Improved 0.037 wRVU [work Relative Value Units] per visit which is equal to a revenue
improvement of $518,609 ytd [year-to-date]”

Its next steps included:

“Coding and Doc — Continue targeted clinical documentation specialist work. Continue to
work with IT on revising E&M templates to facilitate the capture of data necessary for

higher E&M codes.”

35. Another portion of the report explained coding and documentation efforts had been
completed in the Thoracic and Cardiovascular Institute (TCI) and the results had “exceeded
target of 3.05 in October YTD (3.36).” The update added that executives would continue to
monitor E&M billing levels monthly and “educate providers.”

36. The TCI Value Transformation Weekly Update notes the expected “improvement”
was $750,000. It categorizes financial increase by stages: imperative, implemented and realized.
37. A second initiative, monthly productivity reports, (2018 reports) spotlights two
keys affecting provider compensation — the CPT codes and work Relative Value Units (wRVUs).

Both are critical elements in the Medicare Physician Fee Schedule.

38. The schedule is based on the principle that not all physician services represented by
CPT codes are created equal. Some of these services require a considerable investment of
physician time and effort, clinical staff and specialized equipment.

39. Medicare calculates fees for each service and procedure based on a single measure,
the Relative Value Unit (RVU). Each RVU compares the value of a procedure or service relative
to other procedures or services.

40. For example, CPT Code 69209, remove impacted ear wax unilateral, is assigned
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0.40 total RVUs while cleaning out a mastoid cavity, CPT Code 69220, is awarded 2.25 RVUs.

By comparison, extensive ear canal surgery, CPT Code 69150, is equal to 29.25 RVUs

41. This compensation model has three components that when totaled determine
payment. They are: malpractice RVUs, which reflect the cost of liability for the procedure or
service; practice expense RVUs, which estimate the cost of labor and supplies; and, wRVUs,
which account for the practitioner’s work when performing a procedure or providing a service.

42. wRVUs factor technical skill, physical and mental effort, medical judgment, stress
related to patient risk and the time required to provide the service. They account for 50.9 percent
of the total fee calculation. Simply put: The higher the level of service, or CPT code, the greater
the wRVU and the larger the reimbursement.

43. At Sparrow, “wRVU productivity” represents between 85 percent of the pay for
primary care and 95 percent for specialty providers. To earn a complete incentive payment,
providers must exceed benchmarks based on wRVUs.

44, Doctors and APPs who don’t measure up face pay cuts.

45. Sparrow makes it clear where individual physicians and APPs stand with its
monthly productivity reports. These reports are directed to senior executives, practice leaders and
shared with providers. They compare individual practitioners to the practice and their peers
across the country.

46. These reports track the expected and annual gross charges, the expected and actual
number of wRVUs, the expected and actual number of visits and the distribution of evaluation
and management codes for each doctor and APP.

= At the top right of each review is a small chart

a

Se = showing national benchmarks for their peers in

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wRVUs, patient visits and the number of wRVUs per patient visit. It shows the median number

of wRVUs, visits and wRVUs by visit as well as 60", 75" and 90" percentile nationally.

47. Providers and their bosses can easily compare performance. Just below the
“benchmarks” is a section titled, the “Productivity Calculation.” The monthly report details the

revenue, the wRVUs, the visits and the wRVUs per visit. The totals appear just under the

national benchmark.

48. The bottom of the report provides a visual representation of each category. A
separate section shows coding distributions for each provider. They compare the performance of
individual doctors and APPs against the experience of the practice and CMS practitioners
nationwide.

49. For example, the September 2020 report for Rachel Chapko, a physician assistant
in the surgical specialty care unit — orthopedic, includes charts showing the coding distribution

for her established and new patients. Here is the review for E&M codes 99211 through 99215:

Coding Distribution - Established Patients

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70%
60 O%
$4 0%
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300%
20 O%
10.0%
00%
100%

FU FIN? 3 P9214 US

—S@-20P YTD wee Practce 2020 YTD ee MS

50. Here is the review of Ms. Chapko’s coding distribution for E&M codes 99201

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through 99205:
Coding Distribution . New Patients
100 17
ON
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400%
mon
oo%
20%
FM) 99202 99203 F204 FINS
2000 YTD wtePractce 2020 YTD ets
51. These reports are created by Sparrow Finance and then distributed each month to

supervisors who review and discuss them with their colleagues. They are available to every
member of senior management and routinely shared with staff.

52. Sparrow relies on these productivity measures to evaluate and pay its healthcare
practitioners. For much of its staff, the healthcare giant finalizes compensation with a
“productivity reconciliation.” This example was generated for the COVID crisis. A similar
reconciliation is regularly conducted for those on the provider-based compensation model.

53. These reconciliations link compensation for APPs and physicians to patient visits
and CPT codes and ultimately, wR VUs. Sparrow has four physician compensation models:
salary, productivity-based, shift-based and base plus. APP are paid based on salary, productivity
or shifts worked. (See Assessment)

54. To maintain their income, productivity-based providers are required to meet
Sparrow-set targets Their performance is reconciled every quarter.

55. Providers must meet their benchmark to maintain their pay. If they miss the target,
they’re given a quarter to improve. After that, the health care system can reduce their pay.

56. Sparrow briefly explained its practices in response to the financial impact it faced

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from COVID-19. To limit exposure to the virus, the medical group restricted in-patient visits,

deferred non-urgent primary care and specialty visits and converted in-patient visits to e-visits.
57. These deferrals had a devastating impact on compensation for high producers.
Effective March 25, 2020, Sparrow suspended its compensation policies:

“In order to maintain the base compensation of its providers during this time of

national crisis and to keep base salaries as is, there will be no productivity
reconciliation for the first two quarters of 2020. ... This policy does not apply to
performance/quality incentives which will be addressed after the expiration of this
temporary policy.”

58. It added that practitioners with “excess capacity” will be required to enter the
provider pool for that excess and may be assigned to other areas in the health system during the
crisis.

59. Prior to COVID-19, the productivity targets required doctors and APPs to increase
the number of visits or the average wRVUs attributed to each patient to maintain their paycheck.
Sparrow tracks both.

60. The emphasis on E&M billing levels came as the healthcare system weakened its
review of how physicians and APPs categorized their work to Medicare.

61. In December 2016, its booklet “Code of Conduct and Compliance Program, Focus
on Integrity and Ethics” classified eight areas as “High Risk Compliance Areas,” including
physician supervision, coding and billing. It explained:“Based on a risk analysis process, the
appropriate Compliance Committees will annually endorse the most significant risks that require
focused compliance effort at the Department and Affiliate level.”

62. The risk in coding, the 28-page booklet explained, was “ensuring accurate

coding on claims representing Sparrow’s inpatient, outpatient and Physician services.” Physician

supervision also was a concern: Ensuring appropriate supervision and related documentation of

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APPs, residents and outpatient services. Billing was another high-risk area with compliance
efforts focusing on “ensuring accurate units, modifiers, and place of service on claims, with
appropriate follow-up and improvement on significant denial areas.”

63. It cited 27 potential trouble spots including the revenue cycle area
which manages and collects patient revenue, the medical group and the Thoracic and
Cardiovascular Institute — an outpatient unit that dramatically increased its use of high-level
codes just two years later.

64. By 2018, Sparrow no long listed coding as a critical risk area.

65. That year’s code of conduct booklet simply stated compliance programs and
policies on “appropriately documenting, coding and billing for services” had been developed.
The program consisted of monitoring and auditing to prevent or detect errors in documentation,
coding or billing. Neither coding nor billing were listed high risk. The code monitoring program
dramatically changed.

66. In early November 2019, Relator Crowe complained to senior executives at
Sparrow that her review of patient charts raised concerns. Her email to Kruger, the vice president
of administration at Sparrow Medical Group, concluded “we have a situation that is a quality and
safety concern as well as a reimbursement concern, and could likely be a significant problem at
some point in the future if not corrected.”

67. An accompanying spreadsheet detailed coding issues on 13 charts. Crowe reduced
the level of service on six patient encounters and raised questions about the services performed
and documentation on seven others performed by Shelly Vliet, a nurse practitioner. Crowe

provided her analysis to Vliet who responded:

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“Treally appreciate you reviewing them. To be honest, I have never had feedback and
I think it’s great. As far as that goes, I have never had a formal billing course and up
to this point have been winging it. On a side note, I’m not sure if Sparrow is going to
be managing the HGB UC[Sparrow Eaton Urgent Care], but I can tell you there is
NO emphasis on billing appropriately. With that being my first position out of school,
I learned as I went and was never aware of the multiple mistakes I’m sure I was
making. I spoke with a Sparrow biller once and found as a clinic we were severely
under-billing.”

68. Kruger thanked Crowe for making senior leaders aware of the issue, adding
quality, safety and coding concerns had to be considered as the medical group examined how to
position the urgent care center, and.Sparrow has yet to take action,

69. Three months later, in February 2020, Crowe raised her concerns over coding with
Gloria Cook, the Sparrow Professional Billing Supervisor in the business and education Center.
She explained her chart reviews consistently showed doctors and APPs coding at a higher level
of service than justified.

70. Her conclusion rested on an analysis from the healthcare system’s electronic record
keeping system, EPIC, followed by a detailed manual review of patient charts. EPIC’s
“SmartCode Analyzer’ examines the documentation in the electronic medical record, calculates
the level of service and recommends a CPT code. At Sparrow, the analyzer does not
automatically review every encounter. It runs only when asked.

71. Three components determine what code should be billed: medical history, physical
examination and medical decision making. Medical decision making refers to the complexity of

establishing a diagnosis and/or selecting a management option. It includes the risk of significant

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complications, morbidity or mortality as well as comorbidities associated with the patient’s
medical issue.

72. Medical decision making, in turn, drives medical necessity. The medical necessity
of a service is the “over-arching criterion for payment.” CMS emphasized the role of medical
decision making when it updated its regulations effective Januaruy 2021. Under the new rules
history and physical exam elements are recorded but do not factor into the determination of the
level of service. According to Cook, Sparrow practitioners are supposed to start with medical
decision making and then determine what’s needed.

“~.. overall I do not think it is being done that way (starting with MDM).It
appears if the History and Exam qualify for the higher LOS, [Level of Service]
regardless of the MDM, often the higher LOS is what is entered,” Crowe wrote in a
February 4, 2020 email to Cook adding it was difficult for her to determine the
extent of the higher coding.”

73. Cook offered little insight. Sparrow’s billing office no longer reviews office visits
for coding on a daily basis, she wrote. The plan, she explained, is to catch any discrepancies on
the annual chart review, adding that a recently hired coder would be doing chart audits.

74. The CPT codes found in EPIC are “dropped” and billed to Medicare by Sparrow.

75. Cook suggested providers evaluated by Dr. Crowe take a refresher course at E/M
University, which teaches practitioners at Sparrow about coding.

76. Dr. Crowe compared the service codes assigned by doctors and mid-level providers
to those calculated by the “SmartCode Analyzer’ embedded in EPIC, the electronic health record
system used by Sparrow.

77. Her review found more than 100 cases in Sparrow’s urgent care unit where the

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coding assigned by medical staff didn’t match the conclusion reached by the analyzer software.
Her manual chart review found an overwhelming majority were upcoded.

78. In some cases, the medical chart, which is supposed to provide the documentation
needed to support the CPT codes used for billing, didn’t contain enough information for the
software program to analyze the visit and make a recommendation.

79. The software system runs, and makes coding recommendations, only when asked.
It reviews the physical examination, determines the number of body systems and health elements
reviewed and, based on an algorithm, assigns a CPT Code. Its calculation doesn’t always fully
take into account medical notes.

80. EPIC is not programmed to auto populate the electronic health record. At Sparrow,
the charges recorded in EPIC provide the basis for billing Medicare. The system’s billing
supervisor said these charges are rarely changed.

81. For example, Crowe’s review found:

An 81-year-old Medicare patient suffering from chronic kidney disease met with a nurse
practitioner on January 7, 2020 for a follow-up to his laboratory tests. Epic’s ““SmartCode
Analyzer” concluded the office visit should be billed using CPT code 99212, the second lowest

level of care for an established patient examined in the office.

82. The software analysis warned: “The following must be medically necessary,
properly performed and appropriately documented to meet the requirements of the next level of
service.’

83. ‘The “next level,” CPT 99213, required between 6 and 11 elements. The nurse
practitioner documented just one system and one element.

84. Sparrow categorized the visit using CPT 99215 — the code for the highest level of

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care — two steps above the billing level recommended by the hospital’s software.

85. Medicare paid $46.19 for professional services billed under CPT 99212 in 2020.
Taxpayers spend three times more for in-office medical visits categorized as CPT 99215. At
$148.23, the higher code adds $102.

86. An 86-year-old Medicare patient met with a doctor on January 10, 2020 for a
follow-up blood pressure check and a Prolia injection. The analyzer concluded the woman’s
office visit should be billed using CPT code 99213.

87. The software added the next level of exam documentation requires 12 or more
elements from two or more systems areas. The practitioner marked the visit at the next level of
service, 99214, the second highest category.

88. In 2020, Medicare paid $76.15 for professional services under CPT Code 99213.
It paid 30 percent more for services billed under CPT Code 99214, which pays $110.43.

89. A 65-year-old woman was examined by a physician on January 10, 2020 after an
abnormal cardiovascular stress test. The analyzer’s review found the Medicare patient’s office
visit should have been billed using CPT 99202, the second lowest evaluation category

90. Three additional elements were needed to qualify for the next level of service, the
software analyzer said. Sparrow listed the level of service as CPT 99204.

91. Medicare reimbursed the professional component of services provided under CPT
code 99202 at $77.23 in 2020. It paid $167.09 for services provided under CPT code 99204,
doubling the cost by adding almost $90 to the bill.

92. A 68-year-old Medicare patient was examined by a nurse practitioner for a six

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month recheck on January 10, 2020. The analyzer determined the visit should be billed under
CPT Code 99213. It said to bill at the next level would require a more detailed patient history,
adding at least three elements. Still, Sparrow recorded the service under CPT Code 99214

93. Medicare paid $76.15 for services provided under CPT Code 99213. It paid
$110.43 for services billed under CPT Code 9914, about 30 percent more.

94. In some cases, the EPIC analyzer could not find enough documentation to
recommend a code. Dr. Crowe reviewed these charts in detail to determine whether the visit was
correctly billed. This is her summary of the reviews.

95, Her analysis provided 28 examples of upcoding — all involve evaluation and
management billing codes — from 14 physicians and APPs. The average difference between what
should have been billed and what was billed is $30.67.

96. From 2015-2018, these practitioners were paid $1.5 million for work attributed to
codes 9902-99205 and 99211-99215. Their use of code 99214 stands out.

97. From 2015 through 2018, the practitioners in the sample provided by Crowe used
code 99214, on average, more than twice as much as their colleagues in Michigan, according to
Medicare payment data maintained by CMS.

98. At the same time, they used codes that pay less and reflect less severe medical conditions
as much as 88 percent less. The examples provided by Crowe show that treatments billed as

Code 99214 should have been submitted to Medicare as Code 99213 which pays $21.83 less.

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This is a breakdown by code:

99211 35 35 384,931 308 (88.6%)
99212 592 148 1,440,772 216 (31.5%)
99213 6,548 504 11,638,081 587 (14.1%)
99214 15,285 1,390 12,084,001 647 115%
99215 448 112 1,289,909 193 (14.9%)
99. The practice appears widespread based on payment data reviewed for more than

360 physicians and advanced practice providers listed on the Sparrow Health System website.

100. These Sparrow physicians and APPs billed some codes 50 percent or more, on
average, than their colleagues in Michigan, show data maintained by CMS for calendar years
2015 through 2018.

101. Again, the use of code 99214 stands out as does code 99213.

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The decision of which code to use
Comparison Sparrow, Michigan providers average
use of codes 99211-99215 hinges on the medical complexity and

medical necessity of the case. CPT

gs code 99214 is the second highest

BOL m Sparc. & e382

noo @h chean Average . .

305 § paying of the evaluating and

~~ Nn al management levels of service used in

office visits. It is, according to

websites aimed at medical coders, one of the most used and abused codes in the country.

102. Taxpayers pay $21.83 more for services when code 99214 replaces the next
lowest
level of service, code 99213. Code 99214 costs $39.15 more than code 99212, which is meant for

less complex medical cases.

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This is a breakdown:

99211 968 46 384,931 308 (85.0%)
99212 28,718 251 1,440,772 216 17.4%
99213 213,341 716 11,638,081 587 22.0%
99214 231,185 893 12,084,001 647 38.0%
99215 16,352 146 1,289,909 193 (24.5%)
103. A comparison of the use of evaluation and management CPT codes for new

patients provides similar results for the 360 providers listed on the Sparrow website.

104. Note how infrequently they use the least expensive evaluation code — about 40
percent less than their peers form 2015 through 2018. The difference in cost to taxpayers
between Code 99201 and 99204, on average, is $81.14 per visit in 2020.

Comparison Sparrow, Michigan providers average These patterns hold true for the 14

use of codes 99201-99205 -_ . .
practitioners identified by Dr. Crowe.

200
= This group used one code, CPT 99204,
140
- 7 : nSparow verge twice as often as their peers in
80 f @ Michigan Average
= Michigan from 2015 through 2018.
2

0

99202 9920: 99204 99205

99201 3

105. From at least 2015 through 2020, Sparrow measured the productivity of many of its

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physicians and APPs with a series of metrics that included a comparison of their coding
experience with the Sparrow Medical Group practice and CMS. These coding comparisons are
provided to senior managers who distribute them to individual practitioners.

106. The code tracking system compares the expected billing distribution of each
E&M code. It measures the percentage each code makes up of the total billed. The commercial
insurer Blue Cross Blue Shield of Michigan (BCBS) analyzes these claims in a similar fashion as
part of its ongoing claims review.

107. For example, if 100 claims were filed for evaluation and management of an
established patient - CPT codes 99211-99215 -- the expected distribution for 50 claims filed as
CPT Code 99214 would be 50 percent.

108. In a November 2020 report, BCBS concluded the percentage of high-level codes
billed by Dr. Crowe was greater than expected for CPT Code 99214. Crowe supervises APPs,
but no longer personally treats patients. The billings on the BCBS report most likely represent
charges billed to BCBS by mid-level providers who report to Dr. Crowe and raised concerns
about inappropriate use of “Incident to.”

109. BCBS sends these evaluations to individual doctors on a monthly basis. It is

unclear whether the insurer’s analysis also is made available to Sparrow.

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In December, BCBS reported the

80% Fp -____
Box | percentage of high-level codes billed
2 . 7 by Crowe’s office had declined, but
eo - - still was greater than expected for
40% -
30% code 99214.
20%
10% +
on A
99211 98212 99213 90214 90215
& Your —. g Rapectosieimeg |
110. BCSC reports on two other doctors showed their use of code 99214 is nearly

double the expected use. The December E/M report of Dr. Theresa A. Kordish, DO, a family
practice doctor working in Sparrow Urgent Care, is at left.

111. All three reports — two from December and one from November -- focus on
family medicine practices and reflect substantially less use of a lesser CPT code, 99213, than

their peers.

112. The analysis from BCBS compares billing distribution percentage for each doctor

against the billing for E&M claims of physicians in the same specialty across the country. An
analysis of claims data maintained by CMS for Michigan doctors and APPs produced similar

results, though the differences aren’t as dramatic.

113. The BCBS analysis shows family practitioners using Code 99214 twice as often as
their colleagues. 99214 is the second highest level of service. Sparrow’s providers used the next
lowest code, 99213, about 75 percent less than their peers.

114. In 2020, Medicare paid $110.43 under code 99214. It paid almost a third less —

$76.15 -- for claims made using code 99213.

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115. A comparison of Sparrow family practice providers with their peers in Michigan
using the same criteria employed by BCBS found a similar but smaller disparity, the CMS

Medicare data show. /
Family Practice: Comparison of Billing Codes

- , Michi Provid
116. The CMS data showed Sparrow 99211-99215 Use By Sparrow, Michigan Providers

doctors and APPs used the higher level of Bo soe

service and more expensive CPT Code 99214 “soos

mga Sparrow D gr but on

an Aes

some 21.5 percent more than expected. They . —e=Michgan D ar but on

du vero

used the less expensive code, 99213, 21 percent

less often than expected. ue es “oc wanes wees

117. This comparison of Family Practice doctors relies of claims data maintained by
CMS for Michigan doctors and APPs for calendar years 2015 through 2018. It includes only the
practitioners tracked in the monthly productivity reports generated by Sparrow.

118. Doctors and APPs tracked in Sparrow’s annual productivity reports change from
year to year, as practitioners joined or left the healthcare system. The analysis reflects their
billing experience only during the time they were employed by Sparrow. Their employment
dates were determined from an analysis of state medical licenses, the health system’s public
postings and CMS reports.

119. The disparities aren’t limited to family medicine. The internal medicine,
interventional cardiology, otolaryngology and psychiatry units all show similar patterns with
greater than expected use — sometimes double — of code 99214 and less than expected use —

sometimes less than half — of code 99213.

120. Overall, doctors and APPs tracked on Sparrow’s productivity reports use the more

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expensive and higher level of service code, 99214, 30 percent more than their peers in Michigan.
The lower level of service, 99213, is used 26 percent less than expected by Sparrow doctors and
APPs when compared to their colleagues across the state.

121. Dr. Crowe is not the only one to question whether the coding levels at Sparrow
were used correctly.

122. On January 8, 2021, a patient who identified herself as a doctor complained that
her visit in November had been incorrectly coded. A grievance filed with the Patient Experience
Department (PED) said:

“Pt contacted PED again on 1/4/21 and again said she was calling in regard to her
bill being coded incorrectly. Pt states she is a Dr so she knows what a CPT code is.
The pt also said that she previously spoke to someone and that the coding had been
updated from a Level 4 to a 3, but that was still coded incorrectly and that could be
considered fraud.”

123. A review of the complainant’s medical chart by Dr. Crowe raised questions about
another billing issue — violation of the “Incident to” guidelines put in place by CMS. “Incident
to” billing allows a non-physician to bill in the doctor’s name, a practice that increase
reimbursement by 15 percent.

Incident-To Billing

124. Medicare beneficiaries are increasingly reliant on advanced practice providers and
physician assistants for their care, particularly as the states have expanded laws enabling APPs to
practice with more authority and autonomy.

125. Over the last decade, the number of nurse practitioners and physician assistants
have doubled with an increasing number practicing in specialty fields. Despite their growing

role, Medicare often doesn’t know when these services are provided by an APP or a doctor

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because of what a congressional commission calls an “artifact of Medicare law called incident
to.”

126. The incident to rules allow APPs to bill for services they provide under the
supervising physician’s name, a practice that increases the payment from taxpayers by 15
percent. For Medicare, a service provided by an APP and billed “Incident to” under a
supervising physician’s name is indistinguishable from a claim for services provided directly by
the doctor.

127. Services provided and billed directly by a nurse practitioner or a physician assistant
pay at 85 percent of the Medicare physician fee schedule. The same procedure billed in the name
of a supervising doctor pays at 100 percent.

128. MedPac, a commission that advises Congress on Medicare issues, estimates that
more than 40 percent of all evaluation and management (E&M) office visits for established
patients were performed by nurse practitioners, but billed to physicians as “Incident to” in 2016.
Its analysis concluded 30 percent of these E&M visits in physician offices were handled by
physician assistants who billed the service under the doctor’s name.

129. In 2019, the commission recommended “Incident to” billing be eliminated as it
would save money without affecting care. Specialized websites catering to coders say although
the rules are clearly defined, the incident to guidelines are continually abused and the services
are billed incorrectly. CMS provides the incident to guidelines in Publication 100-2, Chapter 15,
Section 60.

To be covered, “‘... there must have been a direct, personal, professional service
furnished by the physician to initiate the course of treatment of which the service

being performed by the non-physician practitioner is an incidental part, and there

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130.

must be subsequent services by the physician of a frequency that reflects the
physician’s continuing active participation in and management of the course of

treatment.”

WPS Government Health Administrators, the MAC responsible for Michigan,

provides specific examples:

131.

“Dr. A is currently treating the patient for diabetes. The patient’s evaluation and
management (E/M) encounter is with a Physician Assistant (PA) of the same
group. The chief complaint is an upper respiratory infection. Can the PA bill the

service incident to Dr. A’s service and bill under Dr. A’s provider number?

“The upper respiratory infection is not part of treating the diabetes. Therefore, it is
not an ‘integral, although incidental’ part of Dr. A’s ‘professional service.’ The PA
submits the correct level of new or established E/.M service under his/her provider

number.”

Dr. Crowe, the Medical Director of Sparrow’s Urgent Care/FastCare centers,

routinely reviews medical charts. In the course of those reviews, she found medical charts from

across the healthcare system where non-physicians were examining patients for new complaints

and billing under the doctor’s name in violation of the “Incident to” rules.

For example:

@ On January 28, 2020, Amy Worthing, a physician assistant, conducted an initial

evaluation of a 73-year-old Medicare patient complaining about pain in his nght knee.

Worthing’s notes identify him as a new patient and the examination as “an initial

evaluation of his right knee.” Two months later, Worthing conducted a follow-up exam.

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Both services were billed as “Incident to,” according to the chart. The chart does not
show a doctor caring for, examining or developing a treatment plan for the patient.

132. An initial history and physical performed by a non-physician practitioner, although
the doctor is documented as being present or in the office suite, is not covered according to the
incident to guidelines. The physician must perform the initial service. The visit should have been
billed to Worthing’s NPI.

Additional example:

o Beginning on Sept 14, 2015, one 88-year-old Medicare patient was examined for
five new medical issues by a physician assistant. She wasn’t examined by a doctor
and no physician participated in, developed a treatment plan or managed the care.

o On September 14, 2015, PA Traci Jones treated her for two new medical issues — a
rash and a sinus problem.

o On March 30, 2018 PA Emilia Ivans examined and treated her for non-recurrent
pansinusitis.

o On October 12, 2018, Ivans examined and treated her for diverticulitis.

o On January 24, 2019, PA Kathleen Reinke for acute pain of the nght shoulder.

o On May 8, 2019, Nurse Practitioner Megan Hohl examined and treated her for an
injury of the left knee.

o Ona sixth visit, Mary Jacobs, a nurse practitioner, examined the woman for a
previously diagnosed issue. There was no physician on site and no previous
urgent care physician established a treatment plan.

133. Each of these visits should have been billed under the non-physician practitioner’s

NPI. They were not. Each was billed as “Incident to.”

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Additional example:

o In 2019 and 2020, a nurse practitioner and physician assistant independently
examined and treated an 89-year-old Medicare patient three times. All three visits
were billed as “Incident to.”

o On August 19, 2019, Nurse Practitioner Lavonna Evans examined and treated the
elderly man for a new condition, De Quervain’s tenosynovitis, a painful condition
affecting the tendons on the thumb side of the wrist.

o On January 29, 2020, PA Amy Worthing evaluated the man — identified as a new
patient — for pain in his left knee. He has no history of left knee problems and no
history of treatment.

o On December 17, 2020, PA Worthing evaluated the man’s left knee issue in a
follow up exam after he complained of pain with no new injury. The pain made it
difficult to walk.

134. Dr. Jarred K. Holt reviewed the notes, the assessment, the order and/or the
procedures performed by Worthing. He noted in the chart that he concurred. The chart does not
say Holt performed the examination, developed a treatment or managed care on the initial or
follow-up visit.

Additional example:

o From 2014 through 2020, a 69-year-old Medicare patient had 22 visits with Nurse
Practitioner Carol Tucker in the diabetic center without a physician ever
examining him. Each of the visits was coded as “Incident to” on the patient charts.
As a general guideline for quality patient care, supervising physicians should see

a patient on every three visits or at least once a year. (Medical review chart)

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135. These electronic records are maintained in EPIC, the electronic record keeping
system. EPIC “drops” the charges as coded to a separate electronic billing module which actually
makes the claim to Medicare. Dr. Crowe does not have access to these records.

136. Dr. Crowe’s review of medical charts found widespread use of “Incident to” billing
across the clinics and offices operated by Sparrow. The charts show new patients or existing
patients with new medical issues initially examined by nurse practitioners or physician assistants.
Each of these medical services was billed in violation of the “Incident to” guidelines.

Provider-Based Billing

137. Effective April 27, 2020, Sparrow Health System converted 34 freestanding
urgent care, specialty and physician offices to on- and off-campus hospital outpatient facilities to
collect more money from Medicare and qualify for the 340B discount drug program.

138. Senior executives estimated the conversion to provider-based billing would
generate an additional $2 million from Medicare and another $10 million from the discount drug
program. Sparrow said it would replace losses caused by Michigan’s new no fault auto law.

139. Sparrow botched the conversion making it ineligible for both programs.

140. Nine months after the conversion, executives still are trying to work out
compliance problems, but that didn’t stop the health care system from billing Medicare or using
the discount drug program.

141. CMS requires each of more than a dozen requirements be met before the newly
designated outpatient hospital facilities can charge a separate facility fee and collect fees charged
at hospital rates. Sparrow hasn’t met all the requirements. And, because Sparrow doesn’t meet
the provider-based billing requirements, it doesn’t qualify for the discount drug program.

142. The provider-based designation allows 34 Sparrow facilities to bill Medicare and

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Medicaid as a hospital outpatient department, which entitles them to a facility fee at hospital
reimbursement rates. Patients now receive a bill with charges for professional services from the
practitioner and a facility fee from the hospital. This lists the departments and Medicare
Advantage plans affected.

143. It increases the average reimbursement per office visit by $100 per
patient — a $20 patient co-pay — for treatment at on-campus sites and $25 per patient, a $5 patient

co-pay for care at off-campus locations.

144. The increased costs are borne by Medicare, Medicaid and patients through higher
CO-pays.
145. The conversion also allows both the on-campus and off-campus operations to

participate in the 340B discount drug program.

146. Kevin Sharpe, the former vice president of revenue cycle, estimated the
conversion would generate two new revenue streams with a “Revenue Enhancement
Opportunity” of $8 million to $10 million from the discount drug program and another $1.5
million to $2 million in hospital facility payments.

147. The chief financial officer said the conversion from the physician fee schedule to
the Outpatient Prospective Payment System (OPPS) would provide two new revenue sources to
replace money lost when Michigan passed a no fault auto law.

148. In January 2020, Sparrow had a monthly operating loss of $3.5 million. Bill
Howe, the Sparrow Hospital Chief Financial Officer said. Through November 2019, Sparrow
lost $20.7 million, according to Howe. He viewed the prospective-billing and discount drug
program as a way to increase profits.

149. The Office of Inspector General considers the provider-based billing program a

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matter of waste, fraud and abuse. The OIG twice has recommended the special billing
designation be eliminated.

150. In 2016, an OIG report concluded CMS has no independent way to determine
whether provider-based facilities are overcharging and has difficulty obtaining the
documentation needed to determine whether the hospitals are following the rules. The OIG
found:

B CMS doesn’t determine whether all hospitals using the provider-based billing system
meet the program’s requirements.

@ CMS only determines whether hospitals meet the program’s requirements when they
file an attestation. Attestations are voluntary. The program essentially operates on the
honor system.

@ Two thirds of the hospitals with provider-based facilities had not attested for at least
one of these provider-based facilities.

@ 39 of 50 hospitals in an OIG sample had not voluntarily attested that they complied
with the regulations. At least one of the on-campus or off-campus facilities at each of
those 39 hospitals did not meet one or more provider-based requirements.

@ CMS cannot identify all on- and off-campus provider-based billing from its claims
data.

151. CMS treats these on-campus and off-campus “outpatient” locations as part of the
hospital when the hospital maintains control over the quality of care and finances at each
location, treats these outpatient facilities like every other hospital department and meets
numerous requirements delineated in 42§413.65. The requirements include notifications to

patients.

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152. The provider-based designation allows facility payments at hospital rates and
qualifies the 34 urgent care, physician offices, clinics and other on-campus and off-campus
locations for the 340B discount drug program.

153. On August 13, 2020, Dr. Crowe asked Howe, the chief financial officer for the
Edward W. Sparrow Hospital, when the system would be in compliance with CMS provider-
based billing requirements. Paula M. Reichle, senior vice president and chief financial officer at
Sparrow Health System, responded the next day.

154. The next day, in an August 14, 2020 email to Crowe, Reichle wrote:

“T fully agree that the implementation and communication process was not as
smooth or coordinated as I would have liked. We are working hard to bring this to
a successful conclusion.”

155. A month later, on September 15, 2020, Patrick Sustrich, the director of consumer
outreach at Sparrow, asked the health system’s director of finance who was in charge of
compliance for the program. The email to Tonya Harrison said, in part:

“Who is in charge of compliance associated with PBB? Two months or so ago, we
had Matt joining our SMG Director calls and he was providing insight on PBB
compliance. We have not heard anything in quite some time and are unaware of

signage, patient notification, etc. is in place of UC (urgent care).”

156. An hour later, Harrison forwarded an email from the PBB compliance officer,
Matt Nobis. Nobis acknowledged the hospital was still working on compliance related items with

its consultant, Plante Moran.

157. Some six months after the April 27, 2020 launch, on October 4, 2020, hospital

officials met to discuss how to bring the program into compliance.

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158. Among the critical requirements are: notification to patients of the additional
charges they will face and clinical and financial integration between the medical staff at the off-
campus locations and the hospital.

159. Sparrow doesn’t provide patients, before the delivery of services, written notice of
the amount of financial liability — that the beneficiary will incur a coinsurance liability for an
outpatient visit to the hospital as well as for the physician service, Crowe said.

160. Neither the signs nor a patient letter tells patients they will pay or the amount of
the co-insurance payment for the hospital facility charge as required under CMS 5g. The
regulation adds:

“If the exact type and extent of care needed is not known, the hospital furnishes a
written notice to the patient that explains that the beneficiary will incur a coinsurance

liability to the hospital that he or she would not incur if the facility were not provider-

based.”
161. The estimate must be provided before the delivery of services.
162. On December 16, 2020, Sparrow launched a Patient Cost Estimator Portal as part

of a government requirement for pricing transparency. Sparrow says the tool provides clear,
accessible pricing information online. Sparrow may argue this online tool provides an estimate
before services are offered.

163. The tool, however, is difficult to use. It requires a patient to enter a CPT code to
view pricing information. It would be difficult for most patients to identify the proper CPT code
before a service is provided. There is no obvious mention of a facility charge which would
increase co-payments. Patients also may not know it exists.

164. Based on the meetings attended by Dr. Crowe and documents, these specific

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requirements haven’t been met:

o Requirement 2c: The chief medical officer of the main hospital and medical
director of the newly minted outpatient facilities must maintain a reporting
relationship that has the same frequency, intensity and level accountability
that exists between the chief medical officer and medical director of a
department of the main provider;

© The majority of the ambulatory care sites don’t have this relationship;

o Requirement 2d: Sparrow has no arrangement where medical staff committees
or other professional committees at the hospital are responsible for the
medical activities in the off-campus facilities;

o 5a: Sparrow hasn’t provided training for the satellite facilities about the anti-
dumping rules.

165. Plante Moran, a consultant hired by Sparrow to help implement the billing
program, provided the hospital references the CMS regulations. Both the Plante Moran summary
and the regulations published by CMS track 42 CFR 431.65

DAMAGES
166. From 2015 through 2018, revenue at Sparrow from codes 99201 through 99205

and 99211 through 99215 totaled $34.5 million, based on CMS claims data. The estimated fraud
is $7.9 million. The fraud calculation uses this methodology:

- Calculate the Average Medicare Payment per CPT code by year in Michigan;

- Calculate the number of services provided by CPT code by year for Sparrow;

- Calculate the difference between the experience for Sparrow and Michigan providers;

- Multiply the experience difference for Sparrow by the Medicare payment for the next

lowest level of service;

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- For example, the experience difference for Code 99214 would be multiplied by the

Medicare payment for Code 99213 in the corresponding year; and,

- Damages for 2019 and 2020 are estimated based on the 2018 fraud plus the median

increase of 66.9 percent from 2015-2018.

CPT Code 2015 2016 2017 2018 Total
99201 $ (37) $ (1,007) $(972) $(935) $(2,951)
99202 should have been 99201 $7,732 $2,476 $72,191 $104,133 $345,398
99203 should have been 99202 $80,445 $88,628 $72,191 $104,133 $345,398
99204 should have been 99203 $114,273 $81,417 $118,908 $109,136 $423,735
99205 should have been 99204 $ 28,646 $46,018 $28,012 $24,207 $ 126,883
CPT Code 2015 2016 2017 2018 Total
99211 $(3,158) $(2,551) $(2,623) $(1,384) $ (9,715)
99212 should have been 99211 $7,116 $ 8,491 $3,548 $5,765 $24,920
99213 should have been 99212 $(8,603) $57,607 $43,963 $111,070 $204,037
99214 should have been 99213 $137,382 $277,295 $610,596 $1,004,342 $2,029,615
99215 should have been 99214 $(113,380) $(101,103) $(105,748) $(96,052) $(416,283)
Totals
Total 99201-99205 $1,238,463
Total 99211-99215 $1,832,573
Total All 2015-2018 $3,071,036
Estimated 2019 @ Average Growth Rate
66.9% $2,277,772
Estimated 2020 $ 2,589,826
Estimated damages 2015-2020 $ 7,938,634
167. These damage calculations only take into account the payments to providers in the

Medicare fee for service program. The calculations don’t include Medicare Advantage or other

managed care programs.

168. Additionally, on information and belief, the damages attributable to the “incident-

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to” allegations are approximately at least $11,000,000. That estimate is based on the fact that at
the time of the filing, Relator had acquired screenshots of over 1,000 violations where the

incident-to regulations were not followed in the care of Medicare patients.

COUNT I

VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT
31 U.S.C. §§ 3729 et seq.

169. Relator incorporates paragraphs 1 through 168 of this Complaint as through fully
set forth herein. This count sets forth claims for treble damages and civil penalties under the
FCA.

170. As described in greater detail above, Defendants caused false claims to be
submitted to the United States.

171. Under the FCA, Defendants have violated:

i. 31 U.S.C. § 3729(a)(1)(A) by knowingly presenting, or causing to be
presented, a false or fraudulent claim for payment or approval;

li. 31 U.S.C. § 3729(a)(1)(B) by knowingly making, using, or causing to be
made or used, a false record or statement material to a false or fraudulent
claim; and

lil. 31 U.S.C. § 3729(a)(1)(G) by knowingly making, using, or causing to be
made or used a false record or statement material to an obligation to pay or
transmit money or property to the government, or knowingly and
improperly avoiding or decreasing an obligation to pay or transmit money

or property to the government.

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172.

Because of the false claims made by Defendants, the United States has suffered

and continues to suffer damages, and is therefore entitled to a recovery as provided by the FCA

of an amount to be determined at trial, plus a civil penalty for each violation.

PRAYER

WHEREFORE, Relator, on behalf of the United States, respectfully requests that:

a.

This Court enter an order determining that Defendants violated the FCA and State
FCAs by making false statements and records to cause false claims to be submitted
to the United States and the Plaintiff States;

This Court enter an order requiring Defendants to pay the maximum civil penalties
allowable to be imposed for each false or fraudulent claim presented to the United
States;

This Court enter an order requiring Defendants to cease and desist from violating the
FCA and State FCAs;

This Court enter an order requiring Defendants to pay all expenses, attorney’s fees
and costs associated with this action;

This Court enter an order paying Relator the maximum statutory award for its
contributions to the prosecution of this action; and

Any and all other relief as this Court determines to be reasonable and just.

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PLAINTIFF/RELATOR DEMANDS A TRIAL BY JURY ON ALL COUNTS.

Dated: September 1, 2021

/8/ David Haron

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